        Case 4:18-cv-01885-HSG Document 121 Filed 02/08/17 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

KONINKLIJKE PHILIPS N.V. and                   )
U.S. PHILIPS CORPORATION,                      )
                                               )
                Plaintiffs/Intervenor-         )
                Defendants/Counterclaim        )
                Plaintiffs in Intervention,    )
                                               )     C.A. No. 15-1170 (GMS)
       v.                                      )
                                               )
ACER INC. and                                  )
ACER AMERICA CORPORATION,                      )
                                               )
                Defendants.                    )

                           REQUEST FOR ORAL ARGUMENT

              Pursuant to D. Del. LR 7.1.4, Defendants Acer Inc. and Acer America

Corporation (collectively “Acer”) respectfully request oral argument on their Motion for

Judgment on the Pleadings (D.I. 94). Briefing on the motion is complete.

                                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
OF COUNSEL:
                                                   /s/ Rodger D. Smith II
Matthew Warren
Patrick Shields                                    Rodger D. Smith II (#3778)
Brian Wikner                                       Eleanor G. Tennyson (#5812)
Erika Mayo                                         1201 North Market Street
WARREN LEX LLP                                     P.O. Box 1347
2261 Market Street, No. 606                        Wilmington, DE 19899
San Francisco, CA 94114                            (302) 658-9200
(415) 895-2940                                     rsmith@mnat.com
                                                   etennyson@mnat.com
Kai Tseng
Hsiang (“James”) H. Lin                            Attorneys for Defendants Acer Inc. and Acer
Craig Kaufman                                      America Corporation
TECHKNOWLEDGE LAW GROUP LLP
100 Marine Parkway, Suite 200
Redwood Shores, CA 94065
(650) 517-5200

February 8, 2017
         Case 4:18-cv-01885-HSG Document 121 Filed 02/08/17 Page 2 of 3




                                  CERTIFICATE OF SERVICE

                I hereby certify that on February 8, 2017, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

February 8, 2017, upon the following in the manner indicated:

Michael P. Kelly, Esquire                                             VIA ELECTRONIC MAIL
Daniel M. Silver, Esquire
Benjamin A. Smyth, Esquire
MCCARTER & ENGLISH, LLP
Renaissance Centre
405 North King Street, 8th Floor
Wilmington, DE 19801
Attorneys for Koninklijke Philips N.V. and U.S.
Philips Corporation

Michael P. Sandonato, Esquire                                         VIA ELECTRONIC MAIL
John D. Carlin, Esquire
Daniel A. Apgar, Esquire
Jonathan M. Sharret, Esquire
Robert S. Pickens, Esquire
Jaime F. Cardenas-Navia, Esquire
Christopher M. Gerson, Esquire
FITZPATRICK, CELLA, HARPER & SCINTO
1290 Avenue of the Americas
New York, NY 10104-3800
Attorneys for Koninklijke Philips N.V. and U.S.
Philips Corporation

Steven J. Balick, Esquire                                             VIA ELECTRONIC MAIL
Andrew C. Mayo, Esquire
ASHBY & GEDDES
500 Delaware Avenue, 8th Floor
Wilmington, DE 19801
Attorneys for Microsoft Corporation and
Microsoft Mobile Inc.
        Case 4:18-cv-01885-HSG Document 121 Filed 02/08/17 Page 3 of 3




Chad S. Campbell, Esquire                                          VIA ELECTRONIC MAIL
Jared W. Crop, Esquire
PERKINS COIE LLP
2901 North Central Avenue, Suite 2000
Phoenix, AZ 85012-2788
Attorneys for Microsoft Corporation and
Microsoft Mobile Inc.

Judith Jennison, Esquire                                           VIA ELECTRONIC MAIL
Christina McCullough, Esquire
PERKINS COIE LLP
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
Attorneys for Microsoft Corporation and
Microsoft Mobile Inc.

Michelle Berger, Esquire                                           VIA ELECTRONIC MAIL
PERKINS COIE LLP
11988 El Camino Real Suite 350
San Diego, CA 92130-2594
Attorneys for Microsoft Corporation and
Microsoft Mobile Inc.



                                          /s/ Rodger D. Smith II

                                          Rodger D. Smith II (#3778)




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